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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________             New York
                      District of _________________
                                      (State)
 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).


                                           VL Assurance (Bermuda) Ltd.
                                           _____________________________________________________________________________________________
1.   Debtor’s name


2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  X
                                                                       50052                                  Registrar of Companies in Bermuda
                                                        Other ___________________________. Describe identifier _____________________________.

                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                     Michael W. Morrison and Mark B. Allitt of KPMG Advisory Limited
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign            Liquidation under the Companies Act 1981, a Bermuda statute,
                                           ____________________________________________________________________________________________
     representative(s) occurred            pending before the Supreme Court of Bermuda.

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           X
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               X
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                           X
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  Additional order granting authority to foreign representatives.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign              X
                                                 No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                                 Yes




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Debtor          VL Assurance (Bermuda) Ltd.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:

                                         Bermuda                                                          4 Par-La-Ville Road
                                         ______________________________________________                  ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                          Hamilton HM 08
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                          Bermuda
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):


                                                                                                           4 Par-La-Ville Road
                                         _______________________________________________                 _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________
                                                                                                           Hamilton HM 08
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________
                                                                                                          Bermuda
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              N/A
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         X
                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership
                                                  X
                                                                     Bermuda exempted company with limited liability
                                                      Other. Specify: ________________________________________________

                                               Individual




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                             Valor Assurance (Bermuda) Ltd.
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Item 6. Certified English translations of the decisions commencing the foreign proceeding,
appointing the foreign representatives, and granting them additional powers.
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                              IN THE SUPREME COURT OF BERMU                                                    (
                                   coMPANtES (W¡NDtNc UP)
                                      COMMERCIAL       COURT            KEHINDEA, L. GEORGE
                                         2A2O: No'     138              Barrister 8t Attorney of the
                                                                        Supreme Court of Bermuda
 lN THE MATTER OF Vt ASSURANCE (BERMUDA)              tTD               Commissioner for Oaths
                                                                        ASW LAW LiPitCd.
 AND IN THE MATTER oF THE coMPANIEs AcT              1981
                                                     Date:                             "t ^I         ,^,   I
 AND rN rHE MATTER oF rHE rNsuRANcE Acr              1s78                       [+V wl LaLLI
 AND IN THE MATTER OF THE SEGREGATED ACCOUNTS COMPANIES ACT 2OO'O



                                               ORDER



 UPON THE APPLICATION by ex parte summons of the Joint Provisional Liquidators of VL
 Assurance {Bermuda) Ltd.

 AND UPON READING the second affidavit of Mark Allitt

 IT IS HEREBY ORDERED THAT:


 L.   Pursuant   to section   L73{41 of   the Companies Act 1981 (the "Companies Act,,} and
      with retrospective effect from the date of the appointment of the     JpLs, any act which

      by the Companíes Act is required or authorised       to be done by a liquidator may be
      done by both or any one of the JpLs;


 2.   Pursuant   to section   175(1Xa) of the Companies Ac! the JPLs are authorised to
      commence proceedings        in the US Bankruptcy Court for recognition of these
      proceedings and their appointment and other relief under chapter L5             of the   US

      Bankruptcy Code;


 3.   Pursuant to section 175(1Xc) of the Companies Act, the JPLs shall have the power to

      retain and employ barristers, attorneys and/or such agents or professional persons
      as the JPLs deem   fit for the purpose of advising and assisting in the execution of their
      powers, and any such retention or employment of any barristers, attorneys and/or


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     such agents or professional persons by the JPLs not sanctioned prior to the date of

     this order is hereby sanctioned; and

4.   The costs of th¡s application shall be paid out of the assets of the Company on the
     indemnity basis.


DATED    this    b
                 -Îh    day of April 2021                         REIr4€


                                                            Lt
                                                            C)




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                                           IN THE SUPREME COURT OF BERMUDA
                                                coMPANtES (WIND|NG UPI
                                                    COMMERCIAT COURT
                                                            2020: No.138

                                tN THE MATTER OF Vt ASSURANCE (BERMUDAI LTD
                                AND IN THE MATTER OF THE COMPANIES ACT 1981
                                AND IN THE MATTER OF THE INSURANCE ACT 1978
                                AND IN THE MATTER OF THE SEGREGATED                            ACCOUNTS
                                COMPAN¡ES ACT      2OOO




                                                                  ORDER




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                                                     5O   Ccdaråvenue tHon¡llton, llMll
                                                                  SEfiMUDA



                                         Attorneys to the Joint Provisional Liquidators
                                                           KALC/1002-A48




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                             VL Assurance (Bermuda) Ltd.
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Item 7. Statement Identifying Foreign Proceedings.
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Tel.: (212) 344-5200

Craig A. Boneau (pro hac vice pending)
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Building C, Suite 300
Austin, Texas 78746
Tel.: (512) 647-6100

Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                  Chapter 15

    VL ASSURANCE (BERMUDA) Ltd., 1                          Case No. 21-

             Debtor in a Foreign Proceeding.


                     DECLARATION OF FOREIGN REPRESENTATIVE
                PURSUANT TO 11 U.S.C. § 1515(c) OF THE BANKRUPTCY CODE

             Pursuant to 11 U.S.C. § 1515(c), Mark B. Allitt of KPMG Advisory Limited (“KPMG”),

as one of the foreign representatives (“Petitioners”) of VL Assurance (Bermuda) Ltd. (“VL

Assurance”), Valor Group Ltd. (“VGL”), and Valor Management Ltd. (“Valor Management,”

and collectively with VL Assurance and VGL the “VL Bermuda Debtors”), hereby declares,

pursuant to 28 U.S.C. § 1746, under penalty of perjury under the laws of the United States of

America as follows:

1
  VL Assurance (Bermuda) Ltd.’s Bermuda corporate registration number is 50052 and has its registered officers
located at 44 Par-la-Ville Road, Hamilton HM 08, Bermuda.
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       The VL Bermuda Debtors are debtors in foreign proceedings (the “Bermuda

Proceedings”), currently before the Supreme Court of Bermuda (Commercial Court) (the

“Bermuda Court”). VL Assurance, specifically, is a debtor in the Bermuda Proceedings in

Case No. 138 of 2020 (the “VL Assurance Bermuda Proceeding”), as defined in section

101(23) of title 11 of the United States Code (the “Bankruptcy Code”).

       I have been informed that section 1515(c) of the Bankruptcy Code provides that a

“petition for recognition shall also be accompanied by a statement identifying all foreign

proceedings with respect to the debtors that are known to the foreign representative.”

       I believe that the VL Assurance Bermuda Proceedings is a “foreign main proceeding” as

defined in section 1502(4) of the Bankruptcy Code. The registered offices of the VL Bermuda

Debtors are all at KPMG at 4 Par-la-Ville Road, Hamilton HM 08, Bermuda.

       There is one proceeding ancillary to VL Assurance’s Bermuda Proceeding (the “VL

Assurance Hong Kong Proceeding”):

Court and Country                Ancillary Proceeding              Date Commenced

Hong Kong                        In the Matter of VL Assurance February 24, 2021
                                 (Bermuda) Limited
In the High Court of the Hong    (Provisional Liquidators
Kong Special Administrative      Appointed), a company
Region, Court of First           incorporated under the laws of
Instance                         Bermuda,
                                 Miscellaneous Proceedings
                                 No. 240 of 2021


       The primary purpose of the Hong Kong Proceeding is to allow Petitioners to properly

manage VL Assurance’s segregated accounts in that jurisdiction.

       There are no other Foreign Proceedings with regard to VL Assurance.




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       I respectfully submit this statement, as required by section 1515(c) of the Bankruptcy

Code, in support of the petition and verified petition filed herewith seeking recognition by this

Court of the Bermuda Proceedings as foreign main proceedings.

       Petitioners reserve their right to amend and supplement this statement at any time.

                          [Remainder of page intentionally left blank]




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                              VL Assurance (Bermuda) Ltd.
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Item 8. Disclosure Pursuant to Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.
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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                  Chapter 15

    VL ASSURANCE (BERMUDA) Ltd.,1                           Case No. 21-

             Debtor in a Foreign Proceeding.


                 DISCLOSURE PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

             Pursuant to 11 U.S.C. § 1515(c) and Rule 1007(a)(4) of the Federal Rules of Bankruptcy

Procedure, Mark B. Allitt of KPMG Advisory Limited (“KPMG”), as one of the foreign

representatives (“Petitioners”) of VL Assurance (Bermuda) Ltd (“VL Assurance”), Valor

Group Ltd. (“VGL”), and Valor Management Ltd. (“Valor Management,” and collectively with

VL Assurance and VGL the “VL Bermuda Debtors”), hereby declares, pursuant to 28 U.S.C.

§ 1746, under penalty of perjury under the laws of the United States of America as follows:


1
  VL Assurance (Bermuda) Ltd.’s Bermuda corporate registration number is 50052 and has its registered officers
located at 44 Par-la-Ville Road, Hamilton HM 08, Bermuda.
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  I.       Administrators in Foreign Proceedings of the Debtors

               The names and addresses of the duly appointed foreign representatives of VL Assurance

       are as follows:

               Michael W. Morrison and Mark B. Allitt
               Joint Provisional Liquidators for VL Assurance (Bermuda) Limited, Valor Group Ltd.,
               and Valor Management Ltd.
               KPMG Advisory Limited
               Crown House, 4 Par-la-Ville Road, Hamilton HM08 Bermuda

               No other persons or bodies are authorized to administer any foreign proceeding of VL

       Assurance.

 II.       Parties to Litigation Pending in the United States

               Upon information and belief, VL Assurance is not currently a party to any litigation

       pending in federal or state court in the United States of America.

III.       Entities Against Whom Provisional Relief is Sought

               Petitioners are not seeking provisional relief from any entity at this time and reserve all

       rights to seek such relief in the future.

               Petitioners reserve their right to amend and supplement this statement at any time.

                                   [Remainder of page intentionally left blank]




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                             VL Assurance (Bermuda) Ltd.
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Item 11. A corporate ownership statement containing the information described in Rule 7007.1
of the Federal Rules of Bankruptcy Procedure.
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Austin, Texas 78746
Tel.: (512) 647-6100

Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                  Chapter 15

    VL ASSURANCE (BERMUDA) Ltd., 1                          Case No. 21-

             Debtor in a Foreign Proceeding.


                           STATEMENT OF CORPORATE OWNERSHP

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Mark B. Allitt of KPMG Advisory Limited (“KPMG”), as one of the foreign representatives

(“Petitioners”) of VL Assurance (Bermuda) Ltd (“VL Assurance”), Valor Group Ltd.

(“VGL”), and Valor Management Ltd. (“Valor Management,” and collectively with VL

Assurance and VGL the “VL Bermuda Debtors”), hereby declares, pursuant to 28 U.S.C. §

1746, under penalty of perjury under the laws of the United States of America as follows:


1
  VL Assurance (Bermuda) Ltd.’s Bermuda corporate registration number is 50052 and has its registered officers
located at 44 Par-la-Ville Road, Hamilton HM 08, Bermuda.
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       Based on my diligent review of the VL Bermuda Debtors’ books and records to date,

VGL owns 100% of the common shares of Valor Management and VL Assurance. IIG Trade

Opportunities Fund, NV owns 100% of VL Assurance’s Series A non-voting redeemable

preference shares.

       Petitioners reserve their right to amend and supplement this statement at any time.

                             [Remainder of page intentionally left blank]




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